                                                                 Milwaukee Police Department

                                                      u        · • Police Administration Building
                                                                 , 7 49 West State Street
                                                               · ; Milwaukee, Wisconsin 53233
                                                               ./ http://www.milwaukee.gov/police
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                                                                 Edward A. Flynn
                                                               : Chief of Police

                                         April 15, 2015         : (414) 933-4444




 Shannon Lewandowski
 Detective
 P.S. #012860


 Detective Lewandowski:


       There is reason to believe that you have violated the department Code of Conduct,
including but not limited to the following Core Value, which is detailed in the enclosed copy
of Charges and Specifications:

               Core Value 3.00- Integrity, referencing Guiding Principle 3.01

       Included with this letter is a summary of the investigation. If you wish to do so, you
are hereby afforded the opportunity to respond in writing to the information contained in the
summary of the investigation. Your department Memo (PM-9E) may include the following:

       a.)    A written statement of your side of the story including the names, addresses
              and phone numbers of additional witnesses you wish the department
              investigators to interview, specifying the nature of the information possessed
              by the additional witnesses.

       b.)    Any mitigating factors or circumstances you may wish the Chief to consider in
              determining a possible penalty.

       You have the right to consult with your union representative in the preparation of
your written response. The Chief of Police will carefully consider the contents of your
department Memo (PM-9E) before making any decision on your guilt or innocence.
Similarly, he will weigh any mitigating circumstances against the nature and seriousness of
the charges before deciding upon any possible penalty. If you choose not to take this
opportunity, the Chief will be compelled to base his disciplinary decisions solely upon the
information possessed· by the department.

        Your department Memo (PM-9E) must be received in the Office of the Internal
Affairs Division no later than 4:00 P.M. on or before the seventh (7th) day following the
date you received this notice. If the seventh (7th) day falls on a Saturday, a Sunday, or a

                                                                                     Ex. 26
         Case 2:16-cv-01089-WED Filed 07/12/19 Page 1 of 4 DocumentLEW-MPD
                                                                    96-3 000572
To:   Detective Shannon Lewandowski
Page 2



holiday, your department Memo (PM-9E) may be received on the next regular business
day.

       If you have any questions regarding this matter, please contact the Internal Affairs
Division at 935-7942.


                                         Sincerely,


                                         EDWARD A. FLYNN
                                         CHIEF OF POLICE


                                         9J-~-~q-~
                                         Michael J. BRUNSON
                                         Deputy Inspector o"f Police
                                         Internal Affairs Division

EAF:MJB:rls

Enclosures (2)




        Case 2:16-cv-01089-WED Filed 07/12/19 Page 2 of 4 DocumentLEW-MPD
                                                                   96-3 000573
PC-4 Rev. 06/12
                                                    MILWAUKEE POLICE DEPARTMENT


                                                                             CHARGES
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 A GAINST........................... .. ....................................... .S.HA.NNON LE.WANDO.WSK.l. .................... ..................................................... ..
                                                                                                  DETECTIVE                                                   . ........... ......... ..................... .
                                                                  RANK- }                     ························ ········································.
                                                                  POSITION
                                                                                                  P.S. #012860, JA.S. #15-0026..... ...............................
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  (PAGEl OF2)

  Violation ofDepartment Core Values as follows:

                                                                                   CHARGE

  CORE VALUE 3.00 -INTEGRITY

           We recognize the complexity ofpolice work and exercise discretion in ways that are beyond reproach and
  worthy ofpublic trust. Honesty and truthfulness are fundamental elements ofintegrity. It is our duty to earn public
  trust through consistent words and actions. We are honest in word and deed

 REFERENCING: GUIDING PRINCIPLE 3.01

        Our behavior shall inspire and sustain the confidence ofour community. Whether on or offduty, department
 members shall not behave in such a way that a reasonable person would expect that discredit could be brought upon
 the department, or that it would create the appearance of impropriety or corruptive behavior.

                                                                           SPECIFICATION

 CORE VALUE 3.00- INTEGRITY
 REFERENCING GUIDING PRINCIPLE 3.01:

         On January 23, 2015, while off-duty and not having been subpoenaed, Detective Shannon LEWANDOWSKI
 appeared at Milwaukee County Children's Court to witness a ({waiver hearing" for Mr. Nathan KING. The
 proceedings were presided by the Honorable David SWANSON During the proceedings, Judge SWANSON was
 alerted by a court deputy that Detective LEWANDOWSKI recordedportions ofthe hearing, contrary to court rules.
 Detective LEWANDOWSKI was instructed to stop her recordings, and the interaction between the court deputy and
 Detective LEWANDOWSKI interrupted the proceedings, causing Judge SWANSON to intervene.

        Judge SWANSON indicated that Detective LEWANDOWSKI, when questioned about her recording, reported
being a ({back-up" to a court authorized documentarian, who denied knowing Detective LEWANDOWSKI or having
her as an assistant. Judge SWANSON then indicated he instructed Detective LEWANDOWSKI to leave the court, but
he did not hold her in contempt of court as a courtesy to a law enforcement officer.




Respectfully submi;~+ (J              }J(
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                 -. --- - - - Commanding Officer, Internal Affairs Division
               Case 2:16-cv-01089-WED Filed 07/12/19 Page 3 of 4 DocumentLEW-MPD
                                                                          96-3 000574
    Michael J BRUNSON, Deputy Inspector ofPolice
PC-4 Rev. 06/12                                      MILWAUKEE POLICE DEPARTMENT


                                                                              CHARGES
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  Violation ofDepartment Core Values as follows:

                                                                  SPECIFICATION (Continued)

 CORE VALUE 3.00-INTEGRITY
 REFERENCING GUIDING PRINCIPLE 3.01:

         During a PI-21 interview, Detective LEWANDOWSKI confirmed her off-duty presence at the waiver hearing.
Regarding the proceedings on January 23, 2015, Detective LEWANDOWSKI indicated she was invited by a victim, Mr.
Claudaire MOTLEY, because it was a public hearing and she wanted to be present to support him. Detective
LEWANDOWSKI stated she recorded only one or two verbal conversations before she was approached by a deputy
and asked to stop recording. Detective LEWANDOWSKI indicated the deputy attempted to take her phone, but she
refused to give it to her. Detective LEWANDOWSKI stated she was very cooperative and deleted the recordings as she
was instructed Detective LEWANDOWSKI stated she did not see the prohibitive sign prior to entering the court room,
but she is aware that cell phones must be turned off inside ofa court room.

       Detective Shannon LEWANDOWSKI, while off-duty, behaved in such a way as to bring discredit to the
department and failed to abide by Milwaukee County Circuit Court Rules regarding electronic devices.




                       Case 2:16-cv-01089-WED Filed 07/12/19 Page 4 of 4 DocumentLEW-MPD
                                                                                  96-3 000575
 Michael J. BRUNSON, Deputy Inspector ofPolice
